Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 1 of 14                    PageID #: 116


                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


IN RE: USA v. MST, etc.                             *
                                                    *
                                                    *       Case Number: 2:18-mc-00127-NT
                                                    *



   MOTION OF MSSRS. HORNOF, KORDIC AND ZAK FOR A HEARING AND ORAL
                             ARGUMENT
       NOW COME Jaroslav Hornof, Damir Kordic, and Lukas Zak (the “movants”) and moves

this Honorable Court to entertain oral argument on the movants “Motion for Relief Pursuant to

18 U.S.C. §3771 and 33 U.S.C. §1908(a),”.dated May 3, 2018 (the “Motion”). The Motion

seeks to protect the movants’ rights and claims in and concerning the criminal matter pending

before this Honorable Court styled as “United States of America v. MST Mineralien Schiffarht

Spedition Und Transport GmbH, et al.,” and which bears docket number 2:17-cr-117-NT (the

“Criminal Case”).

       Unless the government waives or is deemed to have waived its right to dispute the factual

assertions made by the movants in their detailed submissions, the movants also request and

evidentiary hearing.

       The movants’ prior submissions have been extensive. Against the possibility the Court

has yet to review them and because the docket reflects that the sentencing of the Criminal Case

is scheduled for next month, the movants summarize their prior filings in support of their motion

for argument and hearing, as follows:

       In early May the movants were in the United States pursuant to the Court’s orders and the

government’s subpoenas. At the time, they filed the Motion and requested an evidentiary

hearing on it. At the Court’s request, they supplemented and supported the Motion by affidavits
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 2 of 14                        PageID #: 117


executed and filed by each of the movants on May 7, 2018. They also filed their “Proffer of

Mssrs. Hornof, Kordic and Zak” on May 14, 2018 setting forth additional facts the movants

believe to be true based on their and counsel’s investigation.

         After filing their affidavits, the movants remained in the United States to afford the

government and the defendants an opportunity to review their affidavits and cross-examine them

should any dispute exist. During a phone conference conducted on or about May 7, 2018, the

Court directed the government and the defendant to review the affidavits and request a hearing to

cross-examine the movants concerning any factual dispute.

         Neither the government nor either defendant requested an opportunity to examine the

movants. The government filed an opposition to the Motion on June 1, 2018, but the

government has not filed any affidavits or exhibits disputing any of the detailed factual assertions

contained in the movants’ affidavits and proffer. Without citing any such record evidence,

however, the government’s opposition does quarrel with some of the movants’ factual assertions.

As the government has not submitted any evidence to support the factual assertions contained in

its opposition, the movants respectfully submit that the government ought to be deemed to have

waived any right to dispute the movants’ affidavits and proffer.

         If, however, the Court is not inclined to find such a governmental waiver, the movants

respectfully renew their request for an evidentiary hearing on their motion, and they remain

confident the government can and will present no evidence to support its mistaken and false

assertions of fact.

         Without limiting their prior submissions, the movants summarize those key facts and the

movants’ claims and contentions below:

    I.      The Movants’ Claims and Contentions.




                                                   2
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 3 of 14                       PageID #: 118


        The initial argument on the motion at which ruling was reserved suggested there may be

confusion concerning the movants’ claims and rights. To address the risk of confusion, the

movants previously clarified (in their proffer) and again clarify their contentions and requests for

relief as follows:

        1. The movants are victims.

            Each movant was a victim of the crimes charged in each of the nine counts of the

            Indictment in the criminal case within the meaning of 18 U.S.C. §3771(d)(3), and as

            such have various statutory rights, including the right to receive notice of proceedings

            in the associated criminal case, see 18 U.S.C. §3771(a)(2), to be present during

            proceedings in that criminal case, 18 U.S.C. §3771(a)(3), to be heard concerning

            appropriate outcomes including at plea and sentencing proceedings, 18 U.S.C.

            §3771(a)(4), and to be treated with fairness and with respect for their dignity and

            privacy, 18 U.S.C. §3771(a)(8). The harm done to the movants by the charged

            criminal conduct is summarized in the movants’ proffer and detailed in their

            affidavits.

        2. Even if the movants are not “victims,” they have standing and should be heard
           concerning whether to accept the plea agreement, which should be rejected in
           either event.

            Even if denied victim status under 33 U.S.C. §1908(a), each movant nevertheless has

            standing to object to the plea agreement and to be heard concerning whether it should

            be accepted since the plea agreement (a) does not fully disclose agreements between

            the government and the defendants, (b) is intended by a dishonest contrivance to

            deprive this Honorable Court of its rights and duty to decide what, if any, portion of

            the fine under section 1908(a) should be awarded to the movants as the individuals

            who provided information leading to the conviction and penalties, and (c) provides



                                                 3
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 4 of 14                    PageID #: 119


        for the Court to impose a fine not otherwise authorized by statute based on a vague,

        false and fraudulent “stipulation” concerning a mixed question of law and fact. That

        mixed question is whether the defendant (or any person) “derived pecuniary gain

        from the offense” charged in Count Nine, (i.e., obstructing justice by having an

        inaccurate oil record book) and whether the amount of any such gain was at least

        $1,600,000. Absent gain, the statutory maximum fine for Count Nine, a class D

        felony, would be $500,000. 18 U.S.C. §371(3)(c). But the Alternative Fines Act,

        codified at 18 U.S.C. §371(d), allows for a fine of up to twice any such gain. Because

        the Alternative Fines Act allows for a greater penalty the existence of such gain – and

        the circumstance that the offense was the “but for” and “proximate cause” of the gain

        – is an aggravating element that ordinarily must be proven beyond a reasonable doubt

        to a jury. Southern Union Co. v. United States, 567 U.S. 343 (2012)[holding that

        Apprendi applies to statutory provisions allowing for enhanced fines]; United States

        v. Sanford Ltd., 878 F. Supp. 137, 148-50 (D.D.C. 2012); United States v. BP

        Products North America Inc., 610 F. Supp. 2d 655, 695-96 (S. D. Tex. 2009). If a

        defendant pleads guilty, of course, there is no jury trial, but the Court is nevertheless

        obligated to determine that there is a factual basis for the defendant’s plea. Fed. R.

        Crim. P. 11(b)(3).

               No factual basis for the application of the Alternative Fines Act was addressed

        at the change of plea proceeding, and none is addressed in the written plea agreement

        (which was made available to the movants only after the change of plea proceeding).

        Instead, the agreement includes a “stipulation” that allocating the entire $3,200,000

        fine to Count Nine is “appropriate,” but no explanation of the factual or legal basis for

        that assertion. As explained in greater detail in the movants’ legal and factual



                                              4
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 5 of 14                  PageID #: 120


        submissions, the fine is neither “appropriate” nor lawful under Count Nine – and

        cannot be properly supported by the Alternative Fines Act (assuming, as movants

        believe, that the government intended the vague stipulation to reference that act). The

        $3,200,000 fine was actually negotiated, agreed upon and allocated under Counts One

        through Eight, each of which charges a violation of the Act to Prevent Pollution from

        Ships [“APPS”]. The total fine allocated under those counts would of course be fully

        legal and appropriate, since each carries a $500,000 maximum. But the government

        insisted the fine be “moved” to Count Nine – based on a vague, false and fraudulent

        stipulation that doing so was “appropriate” and a secret side agreement that the

        defendant would agree with whatever factual analysis the government might later

        conjure under the Alternative Fines Act – solely for the purpose of defeating the

        movants’ statutory rights to seek an award of any fine imposed under section 1908 of

        APPS.

     3. The Court could and should award the movants a reward, even if it accepts the plea
        agreement.

        The government appeared to concede at the initial argument that the plea agreement

        is intended to defeat the movants’ claims and rights. (Government counsel

        specifically asserted that if the Court approves the plea agreement none of the fine

        could be awarded to the movants, and the government subsequently asserted that

        position in its opposition.) The movants respectfully disagree. The plea agreement

        should be rejected for the reasons summarized in the preceding paragraph. But if the

        Court accepts the Agreement (which it should not), the movants would and do

        contend the Court should, under section 1908(a), award them shares of the proposed

        fine. An issue under that scenario would exist concerning whether section 1908(a)

        authorizes the Court to award informants a share of a fine where, as would then be the


                                             5
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 6 of 14                      PageID #: 121


           case here, the defendant is charged with and at the change of plea proceeding admits

           facts the Court has determined constitute several (in this case eight) criminal

           violations of APPS and MARPOL, but the government and the defendant structure

           the plea agreement to include a single guilty plea to another charge that includes all

           the same elements. The movants respectfully contend and have argued in their filing

           that the law, including the precise language of section 1908(a), compel the conclusion

           the Court could and should award a portion of the fine to the movants.

       Although the government has opposed the movants’ motion, it has submitted no exhibit,

proffer or affidavit to refute the movants’ detailed factual submissions. The government does

not concede, for example, that it had and has a secret side agreement with MST to support

whatever false “gain” analysis the government would conjure later; but the government’s

objection did not directly dispute the proffered assertions, either. The government’s objection

speculates that MST had business “gain,” but as explained in the movants’ reply, the government

assumes (without articulation) that the crime charged need not be the but-for or proximate cause

of that gain, and the government submitted no evidence whatsoever to support its speculation.

   II. The Undisputed Facts

       As requested by the Court, the witnesses filed affidavits summarizing the testimony they

would have offered if allowed to testify in support of their motion. Those affidavits and the

movants’ proffer explained how the movants have been injured and victimized by the

defendants’ crimes and the scheme carried out by Chief Engineer Babarovic, including as

follows:

   A. Jaroslav Hornof

       1. Mr. Hornof was directly victimized by the false and missing oil record book entries

           and the attempt to cover up pollution, tank transfers and other engine room activities



                                                 6
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 7 of 14                     PageID #: 122


        because, as an engine room officer, he needed to rely on the ship’s official engine

        room records, including records required by MARPOL. (Hornof Affidavit ¶¶ 5-6.)

     2. Chief Engineer Babarovic, Mr. Hornof’s superior within MST, lied to Mr. Hornof

        concerning the same activities he misrepresented in the oil record book and related

        ship documents; he did so for the purpose of deceiving Mr. Hornof into allowing the

        misconduct to continue. (Hornof Affidavit ¶¶ 8.)

     3. As a young maritime engineer, Mr. Hornof depends on the marine environment and

        the courtesy port states extend to visiting mariners; the misconduct of Mr. Babarovic

        in his capacity as an agent for MST threatened and damaged the standing of MST

        ships and crewmen, including Mr. Hornof. (Hornof Affidavit ¶¶ 6(c).)

     4. Mr. Hornof felt morally and ethically obligated to confront his MST superior and

        insist that the illegal activity stop; when it did not stop, he gathered proof positive of

        the misconduct and presented it to the master and defendant MST’s home office

        officials; when they seemed to doubt his report, he redoubled his efforts, all of which

        consumed many hours of Mr. Hornof’s time and placed him at risk for his job and

        personal safety at sea. (Hornof Affidavit ¶¶ 6(e).)

     5. Mr. Hornof indeed was physically threatened on the high seas by Mr. Babarovic

        because of his efforts to report and end the pollution and false entries and statements.

        (Hornof Affidavit ¶6(d).)

     6. The misconduct of Mr. Babarovic on behalf of MST, which according to the

        Indictment and in fact, included polluting the high seas and making false records to

        cover up that pollution, created a risk that any port state might detain the vessel and

        crew with knowledge of the misconduct. (Hornof Affidavit ¶¶ 5-6.)




                                               7
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 8 of 14                    PageID #: 123


     7. In Canada and Brazil, Mr. Hornof spent many hours disclosing the misconduct of Mr.

         Babarovic and MST to officials from MST, Liberia, and private auditors. He was

         assured and believed full disclosure was made to the United States, but according to

         the government’s Trial Brief full disclosure was not made. MST’s failure to make

         disclosure satisfactory to the government created the risk Mr. Hornof might be held in

         Maine, and he was. (Hornof Affidavit ¶¶ 6(e).)

     8. As a result of the misconduct by Mr. Babarovic and MST’s apparent failure to make

         sufficient disclosure, Mr. Hornof’s permission to enter the United States was revoked

         and he was detained onboard the vessel for over a week. (Hornof Affidavit ¶¶ 6(f).)

     9. To secure the release of their vessel, the defendants entered into a security agreement

         with the government; in that agreement, the defendants agreed, without his consent,

         to modify Mr. Hornof’s contract, to force Mr. Hornof off the vessel, and to leave him

         behind in this foreign port; they did so, and he was held here for two-and-a-half

         months. (Hornof Affidavit 6(g).)

     10. While he was held here pursuant to the defendants’ agreement, Mr. Hornof’s pregnant

         mother’s wife died, and Mr. Hornof was unable to travel home to assist his wife, an

         only child, deal with the loss. (Hornof Affidavit ¶¶ 6(i).) Of course, none of that

         would have occurred but for MST’s misconduct and its decision to trade Mr.

         Hornof’s liberty for its vessel.

  B. Damir Kordic.


     1   As the Government’s Trial Brief explains, Mr. Babarovic, Mr. Kordic’s supervisor at

         MST, “ordered” Mr. Kordic to transfer what in fact were oily bilge wastes from one

         tank to another and to discharge them overboard on the high seas. (See Kordic

         Affidavit, ¶6.)


                                               8
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 9 of 14                    PageID #: 124


     2   Mr. Kordic did so, in part because the “orders” came from his superior, but also

         because Mr. Babarovic made the same false statements to Mr. Kordic that he made in

         the oil record book – falsely claiming that the complex systems of modified

         plumbing, and the hoses, valves and pumps were only being used for lawful purposes.

         (Kordic Affidavit ¶6.) As Mr. Kordic’s affidavit explains, the engine space is

         massive, and the nature of what was being accomplished was not clear. Mr. Hornof’s

         affidavit explains in detail that the altered piping was designed and, together with

         pumps and hoses, employed for the lawful and environmentally-sound practice of

         capturing and discharging engine-coolant condensate before it reached the bilges and

         bilge tanks. Mr. Hornof’s detailed investigation demonstrated that other chief

         engineers used the altered piping along with hoses and pumps only for that proper

         purpose. (Hornof Affidavit ¶¶ 8-9.)

     3   Because of the criminal misconduct by Mr. Babarovic that has now been

         acknowledged and admitted by MST, Mr. Kordic’s permission to enter the U.S. was

         revoked and he was detained onboard the vessel for over a week. (Kordic Affidavit

         ¶8(e).)

     4   To gain the release of its vessel, MST signed an Agreement on Security agreeing to

         force Mr. Kordic off the vessel and leave him behind in a foreign country. He was

         held in this foreign country of approximately two-and-a-half months. (Kordic

         Affidavit ¶8(f).)

     5   Although Mr. Kordic was “ordered” by his superior at MST to participate in what in

         fact were illegal discharges, he has now been fired by MST and, at age 59, is unlikely

         to ever work again in the maritime industry. (Kordic Affidavit ¶8(c).) He believes he

         has “lost his career” as a result of MST’s actions. (Kordic Affidavit ¶¶ 8(d).)



                                               9
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 10 of 14                    PageID #: 125


   C. Lukas Zak

      1. Mr. Babarovic similarly “ordered” Mr. Zak’s participation. (Zak Affidavit ¶6.)

      2. Mr. Babarovic deceived Mr. Zak, just as he sought to and did deceive others, falsely

           claiming that “it was a proper procedure.” (Zak Affidavit ¶6.)

      3. From Mr. Hornof, Mr. Zak learned that, instead, the Mr. Babarovic was misusing a

           system designed for the lawful purpose of capturing and discharging only clean

           condensation, and that the result was illegal pollution; and he helped Mr. Hornof

           unravel the history and the misconduct by answering all Hornof’s questions. (Zak

           Affidavit ¶7.)

      4. In addition to having been duped into polluting, the misconduct of Babarovic and

           MST, including MST’s apparent failure to make proper disclosure, created a risk that

           Mr. Zak might be held by any port state, and of course that is exactly what happened.

           (Zak Affidavit ¶¶ 7-8.)

      5.   When the vessel arrived in Portland, Mr. Zak was at the end of his contract. He had

           been at sea for 18 of the prior 19 months. He was scheduled to fly home, and the U.S.

           Customs and Border Patrol granted him permission to enter and fly home on the

           flights scheduled for the next day, July 8, 2017. Because of the misconduct by Mr.

           Babarovic and MST, Mr. Zak’s permission to enter the U.S. was revoked and he was

           detained onboard the vessel for over a week. (Zak Affidavit ¶8(e).)

      6. To gain the release of the vessel, MST signed an Agreement on Security agreeing to

           extend Mr. Zak’s contract without his permission or consent, to force him off the

           vessel and leave him behind in a foreign country. He was held in this foreign country

           for approximately two-and-a-half months. (Zak Affidavit ¶8(e).)




                                               10
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 11 of 14                       PageID #: 126


       7. Although Mr. Zak was “ordered” by his MST superior to do everything he did, he has

           now been fired by the only maritime firm he has ever worked for, MST. (Zak

           Affidavit ¶8(d).) He has not worked in the maritime industry since, and whether he

           has a future in the maritime industry “is now in doubt.” (Zak Affidavit ¶8(h).)

       The movants have pressed the government and MST’s lawyers to explain the bizarre plea

agreement that is clearly designed solely to defeat the movants’ rights. Based on the

government’s and MST’s limited statements, the movants’ knowledge, and the assertions in the

government’s objection, the movants respectfully submit that the following facts are established

– or at least should be treated as established -- unless and until contrary evidence is presented at

an evidentiary hearing:

       1. During the time period referenced in Count Nine, i.e., between September 14, 2016,

and June 19, 2017, no person (other than perhaps Mr. Babarovic, who may have benefitted by

keeping his job) derived any gain from the inaccurate record keeping or the crime charged in

Count Nine. (See, e.g., Hornof Affidavit, ¶ 21.)

       2. The M/V Marguerita was outfitted with a working oily water separator that competent

and caring chief engineers could have operated, and did operate, during that time period to

protect the environment. (See, e.g., Hornof Affidavit, ¶ 21.)

       3. Those other engineers used the altered piping, together with valves, pumps and hoses,

to capture, transfer and discharge through the gray water system the substantial clean condensate

generated by the main engine’s cooling system, but they used the oily water separator to safely

treat and discharge bilge water. Mr. Babarovic, on the other hand, used a good, lawful system,

designed to avoid overwhelming the vessel’s pollution control equipment, illegally to bypass the

pollution control equipment, polluting the high seas. He did so until Mr. Hornof uncovered,

investigated and put an end to the illegal activity. (See, e.g., Hornof Affidavit, ¶¶ 9-13 & 21.)



                                                 11
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 12 of 14                       PageID #: 127


       4. In addition to making full and complete disclosures to U.S. officials, Mr. Hornof

made full and complete disclosure to officials from the Republic of Liberia, the flag state and

therefor the country with exclusive jurisdiction over the actual pollution events. Because of Mr.

Hornof’s disclosure, “keeping the inaccurate record book did not succeed in keeping the

misconduct secret from the entity known as the ‘Administration’” for purposes of MARPOL and

did not avoid whatever sanction or remedy Liberia may impose. (Hornof Affidavit, ¶ 22.)

       5. The plea discussions were conducted by Senior Trial Attorney Richard Udell and by

attorney George Chalos; Mr. Udell made several plea proposals not disclosed to the Court.

       6. The government and MST negotiated for fines for each APPS count, and the

defendants tentatively agreed to pay fines based on APPS convictions.

       7. Mr. Udell then insisted, however, that the fine be assigned to the obstruction count

solely to try to defeat the movants’ rights.

       8. Mr. Udell insisted on the “stipulation” that the fine was “appropriate” under section

3571. When the movants heard that a plea agreement might be reached and might be so

structured in an attempt to defeat their rights, they objected and asserted that such a “stipulation”

cannot be used for a dishonest or fraudulent purpose and that the Court cannot accept a guilty

plea to an aggravated offense based on a dishonest stipulation not supported by a good-faith

belief in underlying facts.

       9. In response to the movants’ concerns, Mr. Udell insisted that MST support and agree

to whatever bogus factual explanation the government might later conjure to support a

contention that the offense charged in Count Nine resulted in “pecuniary gain” and that the gain

was sufficient to move $3,200,000 negotiated for several APPS counts to the single obstruction

count under the Alternative Fines Act.




                                                 12
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 13 of 14                       PageID #: 128


        10. MST’s lawyers and attorney Udell knew that stipulation was false and misleading and

that MST did not have $1,600,000 gain – or in fact any gain – proximately caused by the charged

offense.

        11. The parties’ dishonest stratagem and false stipulation was and is designed solely to

defeat the movants’ claims and the Court’s discretion to award the movants a reward should the

Court decide they are deserving.

        12. There is no good faith or factual basis for MST’s plea to an “aggravated” form of

obstruction of justice, i.e., obstruction of justice resulting in gain.

        13. Attorney Udell insisted on the dishonest plea agreement and false stipulation to

penalize the movants for politely attempting to protect their liberty interests while also agreeing

to provide and in fact providing all of the information and evidence leading to the indictment and

MST’s agreement to plead guilty to the APPS counts and to pay a fine of $3,200,000 under those

counts – and to its subsequent agreement to “move” the fine to Count Nine.

        14. Attorney Udell and other government lawyers also seek to punish the movants for

initially cooperating with the MARPOL Administration and insisting that the pollution stop,

rather than allowing it to continue until the vessel arrived in U.S. waters – and reporting it only

then.

        Wherefore, the movants request argument on their motion and, unless the government

stipulates or is deemed to have stipulated to the foregoing factual assertions, the movants again

request an evidentiary hearing.

        Respectfully submitted this 9th day of August, 2018.

                                                _/s/ Edward S. MacColl
                                                Edward S. MacColl (MBN 2658)
                                                Counsel for Jaroslav Hornof, Damir Kordic and
                                                Lukas Zak




                                                   13
Case 2:18-mc-00127-NT Document 14 Filed 08/09/18 Page 14 of 14                       PageID #: 129


THOMPSON, MACCOLL & BASS, LLC, P.A.
15 Monument Square, 4th Floor
P.O. Box 447
Portland, ME 04112-0447
(207) 774-7600


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day I have served the foregoing by filing it via the Court’s
ECF system, which will cause served to be made on all parties in this matter and all counsel of
record in the underlying criminal matter.

                                              _/s/ Edward S. MacColl
                                              Edward S. MacColl




                                                 14
